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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
               IVA MAE MURPHY
                      (Defendant’s Name)                                  Criminal Number: 2:03CR0258-03


                                                                          Mary French
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) as alleged in the violation petition filed on January 19, 2007 .
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    Unlawful Use of a Controlled Substance                  11/21/06, 12/1/06, 12/18/06 & 12/21/06




The court: [ ] revokes: [ ] modifies: [U] continues under same conditions of supervision heretofore ordered on May 7, 2004 . ALL
FINANCIAL SANCTIONS REMAIN IN FULL FORCE & EFFECT.


[]       Charge(s)        is/are dism issed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                             June 1, 2007
                                                                                    Date of Im position of Sentence


                                                                                         /s/ Edward J. Garcia
                                                                                      Signature of Judicial Officer


                                                                         EDW ARD J. GARCIA, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 June 29, 2007
                                                                                                     Date
